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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                               Plaintiff,
                  V.
                                                                        Vi o\c^ von M). ^ o Z i 110 9^
 STEVEN W. LAXTON,

                               Defendant.


                           STIPULATION, AGREEMENT, AND ORDER



The United States and the defendant stipulate and agree that the defendant received citation(s) for:
Exceeding zones and posted limits adopted by 32 C.F.R. 634.25(f); vehicle speed 76 mph in a 55 mph zone;
citation no. 9021162.
The United States will amend citation number 9021162 to allege a violation of:
Exceeding zones and posted limits adopted by 32 C.F.R. 634.25(f); vehicle speed 10 mph or less over limit.
Pursuant to Fed. R. Crim. P. 58(d), the defendant agrees not to contest the violation(s) and to pay $100 on or
before October 22, 2021, with a check or money order to the Central Violations Bureau, P.O. Box 780549
San Antonio, TX 78278 or through the online payment system at www.cvb.uscourts.gov. In exchange, upon
payment of the fine noted above, the United States will dismiss any other currently pending Western
District of Wisconsin citations against the defendant that are known to this U.S. Attorney's Office. The
defendant understands that tire Court will sign this Stipulation, Agreement, and Order and that failing to
pay the agreed fine amount could subject the defendant to contempt charges and arrest.


s/Megan R. Stelljes                                  Steven W. Lax to
Megan R. Stelljes                                    Defendant na
Assistant United States Attorney

October 8, 2021
Date                                                 Defendant sr


       Upon receipt of this agreement, it is ORDERED that judgment of conviction be entered into in
accordance with the charge(s) set forth above and the defendant pay tire amount required under this
agreement.


                                     V                                            10-lMZl
                                     STEPHEN L. CROCKER                              Date
                                     United States Magistrate Judge
